                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


CHARLES B. HENRY,

                            Plaintiff,

                 v.                            Case No. 4:18-cv-00036-TMB

STATE OF ALASKA,

                            Defendant.


                               ORDER OF DISMISSAL

       The Court has reviewed the Notice of Voluntary Dismissal at Docket 8. All pending

motions are DENIED AS MOOT. This action is DISMISSED WITHOUT PREJUDICE.

The Clerk of Court is directed to close this case.

       IT IS SO ORDERED.

       DATED this 22nd day of February, 2019 at Anchorage, Alaska.

                                                 /s/ Timothy M. Burgess
                                                 HON. TIMOTHY M. BURGESS
                                                 UNITED STATES DISTRICT JUDGE




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